              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT


                     GEICO INDEMNITY COMPANY,

                        Appellant/Cross-Appellee,

                                     v.

                  SHAZAM AUTO GLASS, LLC, a/a/o
                      GABRIELLA MERCADO,

                        Appellee/Cross-Appellant.


                            No. 2D2022-4232



                             August 21, 2024

Appeal from the County Court for Hillsborough County; Michael C.
Bagge-Hernandez, Judge.

Michael C. Clarke and Joye B. Walford of Kubicki Draper, P.A., Tampa,
for Appellant/Cross-Appellee.

David M. Caldevilla of de la Parte, Gilbert, McNamara &amp; Caldevilla, P.A.,
Tampa; and Keith P. Ligori, Meaghann Ligori, Thomas McFadyen, and
Torrey Clifford Taylor of Ligori &amp; Ligori, P.A., Tampa, for Appellee/Cross-
Appellant.

PER CURIAM.

     Affirmed.


MORRIS and VILLANTI, JJ., Concur.
CASANUEVA, J., Concurs with opinion.
CASANUEVA, Judge, Concurring.
      I concur in this court's decision to affirm but write to discuss
issues which occur with a degree of frequency in litigation over the repair
of cracked or broken windshields. This concurrence will specifically
discuss the language of the insurance contract, small claims rules of
procedure, and the pleadings and procedure utilized during the litigation
of this matter.
                                I.   Background
      GEICO issued an insurance policy to the insured, Ms. Mercado.
While the policy was active, Ms. Mercado's vehicle sustained damage to
the windshield. After repairing the vehicle, Ms. Mercado assigned her
rights and benefits under the policy to Shazam Auto Glass. Pursuant to
this assignment, Shazam submitted a bill to GEICO. After failing to pay
the bill in full, Shazam filed a complaint against GEICO for breach of
contract.1
      As it pertains to windshield coverage, Section III of the policy
provides that GEICO "will pay for each loss, less the applicable
deductible, caused other than by collision to the owned or non-owned
auto. This includes glass breakage. No deductible will apply to loss to
windshield glass." Under the same section, GEICO's policy provides that
the limit of its liability for loss "[w]ill not exceed the prevailing competitive
price to repair or replace the property at the time of loss." While the
policy defines "prevailing competitive price" as "the price that [GEICO]
can secure from a competent and conveniently located repair facility, it
does not define "competent," "conveniently located," or "repair facility."
      Prior to trial, GEICO asserted three affirmative defenses. GEICO
did not file a formal answer or affirmative defenses. See Fla. Sm. Cl. R.

      1 GEICO paid $310.47 of the $628.12 bill.

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7.090(c) ("Unless required by order of court, written pretrial motions and
defensive pleadings are not necessary."). Instead, it put forward its
affirmative defenses through discovery by answering Shazam's
interrogatories. Specifically, GEICO asserted: (1) GEICO paid the claim
pursuant to its limitation of liability provision within the policy, (2)
Shazam must prove it has standing to maintain its action pursuant to a
valid assignment of benefits from the Insured, and (3) Shazam waived the
right to charge a higher, unilaterally set amount. And pursuant to
Florida Small Claims Rule 7.135, Shazam moved for summary
disposition on GEICO's affirmative defenses.
      Finding no admissible facts to support GEICO's defenses, the trial
court granted summary disposition.
                               II.   Discussion
      Our supreme court has held that "[a]n affirmative defense is a
defense which admits the cause of action, but avoids liability, in whole or
in part, by alleging an excuse, justification, or other matter negating or
limiting liability." State Farm Mut. Auto. Ins. Co. v. Curran, 135 So. 3d
1071, 1079 (Fla. 2014) (quoting St. Paul Mercury Ins. Co. v. Coucher, 837
So. 2d 483, 487 (Fla. 5th DCA 2002)); see also Mintz Truppman, P.A. v.
Cozen O'Connor, PLC, 346 So. 3d 577, 580 n.8 (Fla. 2022) (same).
      It is the defendant who bears the burden of proving an affirmative
defense. Custer Med. Ctr. v. United Auto. Ins. Co., 62 So. 3d 1086, 1096
(Fla. 2010). And an affirmative defense must be measured against the
cause of action it seeks to avoid.
      Here, Shazam's complaint put forth a cause of action based upon
its assigned contract rights from the insured and GEICO's alleged breach
of those contractual rights. This court has "identified the three elements
for a cause of action for breach of contract as: '(1) a valid contract, (2) a

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material breach, and (3) damages.' " JF &amp; LN, LLC v. Royal Oldsmobile-
GMC Trucks Co., 292 So. 3d 500, 508 (Fla. 2d DCA 2020) (footnote
omitted) (quoting Havens v. Coast Fla., P.A., 117 So. 3d 1179, 1181 (Fla.
2d DCA 2013)). Thus, to emphasize the obvious, damages are an
element of a cause of action for breach of contract. And as Judge Gross
wrote, "an essential element of the plaintiff's cause of action is not an
affirmative defense." Rauch, Weaver, Norfleet, Kurtz &amp; Co. v. AJP Pine
Island Warehouses, Inc., 313 So. 3d 625, 629–30 (Fla. 4th DCA 2021)
(citing Commerce P'Ship 8098 Ltd. P'ship v. Equity Contracting Co., 695
So. 2d 383, 390 (Fla. 4th DCA 1997)).
      Accordingly, I regard GEICO's assertion that it paid the claim
pursuant to its limitation of liability provision within the policy as an
argument regarding performance of the contract and not one that admits
the cause of action and avoids liability under the contract. If sufficient
payment is proven, there has been no breach of GEICO's contractual
duty and no damages are due to plaintiff; the contract has been fully
performed. Thus, GEICO did not, in my view, assert an affirmative
defense.
      Further, just as the proponent of an affirmative defense bears the
burden of persuasion, the plaintiff bears the burden to "establish by a
preponderance of the evidence each element of his cause of action." Id.
at 630 (quoting Sharp v. Long, 283 So. 2d 567, 568 (Fla. 4th DCA 1973)).
Here, Shazam accepted an assignment of rights from Ms. Mercado.
"Generally, an assignor conveys to the assignee his or her rights and
interests in the property or interest assigned." Dove v. McCormick, 698
So. 2d 585, 589 (Fla. 5th DCA 1997) (citing State v. Family Bank of
Hallandale, 667 So. 2d 257, 259 (Fla. 1st DCA 1995)). The "assignee
stands in the shoes of his assignor" and, therefore, cannot receive a

                                      4
greater right than the assignor had at the time of the assignment. Id.(quoting Cadle Co. II, Inc. v. Stamm, 633 So. 2d 45, 46 (Fla. 1st DCA
1994)). Because Shazam possessed only the rights assigned to it, it is
entitled only to payment of the "prevailing competitive price to repair or
replace the property at the time of loss." And Shazam, as plaintiff, is
required to prove every element of its cause of action for breach of
contract, including damages. Proof of damages in this instance includes
not only the invoice for the cost of repair, but proof that the repair was a
"prevailing competitive price."
      Shazam, however, contends that the rationale set forth in Curran
alters the customary burden of proof imposed upon a plaintiff. I
disagree.
      In Curran, the individual insured by State Farm—Curran—was
rear-ended by an underinsured motorist. 135 So. 3d 1071, 1073. State
Farm approved a settlement agreement between the parties. Id. Later,
Curran indicated that due to her injuries, her damages totaled
approximately 3.5 million dollars. Id. She sought "her $100,000
underinsured motorist policy limits and offered to settle and release
State Farm from an uninsured motorist . . . lawsuit if it tendered the
policy limits." Id. Prior to issuing any payment, State Farm sought to
have Curran submit to a compulsory medical examination, arguing that
her policy imposed upon her a duty to submit to the exam and that there
was "no right of action against [State Farm] until all the terms of [the]
policy [were] met." Id. at 1073-74 (first alteration in original). State
Farm contended that the contractual language was "a condition
precedent to both coverage and to suit, which constitutes a material
breach of the policy resulting in forfeiture of coverage irrespective of any
showing of prejudice to State Farm." Id. at 1076.

                                      5
      Our supreme court answered the following questions of great
public importance, as rephrased by the court:
      When an insured breaches a compulsory medical
      examination provision in an uninsured motorist contract,
      does the insured forfeit benefits under the contract without
      regard to prejudice? If prejudice must be considered, who
      bears the burden of pleading and proving that issue?
Id. at 1073. It is the answer to the second question that I focus on in the
case before us. The court held that "the insurer as the defensive party
pleading an affirmative defense has the burden of pleading and proving
prejudice." Id. The court specifically held "that the burden of pleading
and proving that issue is on State Farm. State Farm raised this issue as
an affirmative defense." Id. at 1079. In Curran, the insurer sought to
avoid liability for payment by asserting that a condition precedent had
not yet occurred so that payment had not yet accrued under the policy's
terms. Performance of payment under the policy was sought to be
avoided, and the pleading did not assert that full performance of the
insurance contract had been made.
      Thus, I perceive a difference in the litigation between an assertion
of contract performance and contract avoidance. The former I view as an
issue of proof. If full payment was made in accordance with the contract
of insurance, then there can be no damage award. Shazam, as an
assignee, is entitled only to the payment rights afforded to its assignor
under its contract of insurance. That is, Shazam is entitled to receive
payment of the competitive prevailing price and not a reasonable price as
alleged in its claim. Should there be a deficiency for the latter payment,
Shazam may need to look to its customer.



Opinion subject to revision prior to official publication.

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